         Case 1-11-47197-nhl                   Doc 64          Filed 04/30/13             Entered 04/30/13 14:17:50




B 210A (Form 210A) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                                EASTERN
                                            __________    DISTRICT
                                                       District      OF NEW YOR
                                                                Of __________

      CLAUDIO MEZA
In re ________________________________,                                                                     11-47197
                                                                                                  Case No. ________________




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  B-Line, LLC
______________________________________                                       CHASE BANK USA, N.A.
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):      2
should be sent:                                                             Amount of Claim:       $16,960.77
  c/o Resurgent Capital Services                                            Date Claim Filed:      09/28/2011
  Po Box 288 Greenville, SC 29602

         877-264-5884
Phone: ______________________________                                       Phone:
                                 9466
Last Four Digits of Acct #: ______________                                                                   9466
                                                                            Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

    \S\ Susan Gaines
By:__________________________________                                             04/30/2013
                                                                            Date:____________________________
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
